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                11                      UNITED STATES DISTRICT COURT
                12                     CENTRAL DISTRICT OF CALIFORNIA
                13
                14 YADIR A. ONTIVEROS, as an                     Case No. 2:15-cv-07118-DMG-RAO
                   individual, and on behalf of all others
                15 similarly situated,
                                                                 DEFENDANT SAFELITE
                16                              Plaintiffs,      FULFILLMENT, INC.’S
                                                                 OPPOSITION TO PLAINTIFF’S EX
                17                  vs.                          PARTE APPLICATION
                18 SAFELITE FULFILLMENT, INC., A                 [Filed concurrently with Declaration of
                   Delaware Corporation; SAFELITE                Maria Z. Stearns]
                19 GROUP, INC., a Delaware Corporation;
                   SAFELITE GLASS CORP., a Delaware              Judge:      Hon. Dolly M. Gee
                20 Corporation; and DOES 1 through 10,           Court Room: 8C
                21                              Defendants.
                22
                23 / / /
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                      1 I.          INTRODUCTION.
                      2             Plaintiff Yadir Ontiveros’ ex parte application seeks extremely broad relief on
                      3 an ex parte basis without any showing of “irreparable harm, immediate danger or any
                      4 other statutory basis for granting relief ex parte.” See Mission Power Engineering
                      5 Co. v. Continental Casualty Co., 883 F. Supp. 488 (C.D. Cal. 1995). In fact, Plaintiff
                      6 ignores this Court’s local rule that “Ex parte applications are solely for extraordinary
                      7 relief and should be used with discretion.” Plaintiff’s contention that emergency relief
                      8 “is required to prevent this Chindarah campaign from continuing, as it only began
                      9 two days ago” does not warrant extraordinary relief. Plaintiff’s ex parte application
                10 is procedurally improper because there is no emergency. Plaintiff’s application
                11 should be rejected for this reason alone.1
                12                  In addition, Plaintiff’s application is substantively without merit.
                13              First, California law permits pre-certification communication with putative
                14 class members, including solicitation of individual settlement agreements. The only
                15 published California decision to examine the validity of individual settlement
                16 agreements in a wage and hour context, upheld their validity, as have many district
                17 court decisions. See, e.g., Chindarah v. Pick Up Stix, Inc., 171 Cal. App. 4th 796, 804
                18 (2009); Stafford v. Brink’s, Inc., No. CV-14-01352-MWF (PLAx), 2016 U.S. Dist.
                19 LEXIS 184784 at *5 (C.D. Cal. March 8, 2016) (stating that “[b]ecause Defendant’s
                20 settlement offers were sent before class certification only, the Court is not persuaded
                21 that an employee’s acceptance of the offer, even after class certification, would [be]
                22 improper . . .” and rejecting plaintiff’s argument that settlement agreements, even if
                23 accepted after class certification, are invalid).
                24              Second, Safelite Fulfillment, Inc. (“Safelite”) complied with all of the notice
                25 and disclosure requirements for obtaining valid and enforceable settlement
                26 agreements under Chindarah. Safelite’s settlement documents resolve bona fide
                27        1
                       Plaintiff’s ex parte application also fails to comply with Local Rule 11-8 which
                28 states “any memorandum of points and authorities or any brief exceeding ten (10)
                   pages in length . . . shall be accompanied by an indexed table of contents . . . .”
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                      1 disputed claims, are written in an easy-to-understand manner in English and Spanish,
                      2 advise putative class members of the claims being alleged on their behalf, identify
                      3 Plaintiff’s counsel and contact information, and discuss the options available to them.
                      4 Unlike the facts in many of the cases cited by Plaintiff, Safelite’s settlement
                      5 communication documents do not include misleading or inflammatory statements and
                      6 are written in a way intended for a lay person to understand.
                      7         Third, a bona fide dispute exists between the parties as Safelite absolutely
                      8 disputes liability. Safelite’s Pickup Stix settlement offers are not a concession of
                      9 liability.
                10              Fourth, Plaintiff lacks standing to challenge the settlement agreements entered
                11 into between Safelite and its current and former employees.
                12 II.              SAFELITE PROVIDED WRITTEN SETTLEMENT OFFERS TO ITS
                13                  CURRENT AND FORMER EMPLOYEES IN CALIFORNIA.
                14                  On or about August 21, 2017, Safelite provided its current and former
                15 Technicians and Repair Specialists employed in California the following: (1) a
                16 memorandum explaining the nature of Plaintiff’s lawsuits and Safelite’s settlement
                17 offer (“Memo”); (2) a fact sheet explaining the lawsuits in more detail, Safelite’s
                18 position disputing the claims, and Safelite’s settlement offer (“Fact Sheet”); (3) an
                19 individual settlement agreement (“ISA”), and (4) a settlement payment check
                20 (“Settlement Check”). (Stearns Decl. ¶ 2, Exs. 1-4.) All documents were provided
                21 in English and Spanish. (Id.)
                22 III.             PLAINTIFF’S EX PARTE APPLICATION MUST BE DENIED
                23                  BECAUSE PLAINTIFF HAS NOT MADE A SHOWING OF
                24                  IRREPARABLE HARM, IMMEDIATE DANGER, OR ANY OTHER
                25                  BASIS FOR EX PARTE RELIEF.
                26                  Plaintiff’s ex parte application should be denied because Plaintiff failed to
                27 comply with this Court’s instruction with respect to ex parte applications. Nowhere
                28 in the application or in the attached declaration does Plaintiff make a factual showing
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                      1 of irreparable harm, immediate danger or any other statutory basis for granting relief
                      2 ex parte.
                      3             In Mission Power Engineering Co. v. Continental Casualty Co., 883 F. Supp.
                      4 488 (C.D. Cal. 1995), the court characterized ex parte applications as requiring a real
                      5 emergency necessitating immediate relief to avoid irreparable harm:
                      6             Lawyers must understand that filing an ex parte motion . . . is the
                      7             forensic equivalent of standing in a crowded theater and shouting,
                      8             ‘Fire!’ There had better be a fire.
                      9 Id. at 492 (emphasis added).
                10                  Plaintiff’s counsel is screaming fire, yet there is no fire here. In reality, Plaintiff
                11 seeks ex parte relief because he is afraid that the vast majority of putative class
                12 members will choose to directly resolve their disputed claims with Safelite leaving
                13 Plaintiff with no basis for a representative action. This hardly constitutes “irreparable
                14 harm, immediate danger or any other statutory basis for granting relief ex parte.”
                15                  In fact, if the Court agreed with Plaintiff’s argument that the settlement
                16 communications are misleading or coercive, then there is absolutely no need for
                17 expedited relief because the settlement agreements entered into between Safelite and
                18 its employees would still be invalid at any later stage in the litigation.
                19                  Standing alone, Plaintiff’s failure to comply with the requirements of ex parte
                20 applications and this Court’s local rule warrants denial of the ex parte application.
                21 IV.              CALIFORNIA LAW PERMITS PRE-CERTIFICATION
                22                  COMMUNICATION WITH PUTATIVE CLASS MEMBERS,
                23                  INCLUDING SOLICITATION OF INDIVIDUAL SETTLEMENT
                24                  AGREEMENTS—UNTIL A CLASS HAS BEEN CERTIFIED.
                25                  It is well-established that in wage and hour class action lawsuits, pre-
                26 certification communication by either side with putative class members is
                27 permissible. Atari, Inc. v. Superior Court, 166 Cal. App. 3d 867, 871 (1985) (holding
                28 that defendants have a right to communicate with putative class members); see also
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                      1 Gulf Oil Co. v. Bernard, 452 U.S. 89, 99-102 (1981) (holding parties or their counsel
                      2 should not be required to obtain prior judicial approval before communicating with
                      3 putative class members prior to certification of a class). Indeed, in Atari, the
                      4 California Court of Appeal expressly held that the predecessor of Rules of
                      5 Professional Conduct 2-100 is not violated when defense counsel communicates with
                      6 putative class members, and “neither party should be precluded from investigating
                      7 and preparing the case.” Atari, Inc., 166 Cal. App. 3d at 871-73.
                      8             In a more recent case – Parris v. Superior Court, 109 Cal. App. 4th 285,
                      9 296-300 (2003) – the California Court of Appeal went one step further than the Atari
                10 court, holding that a trial court is without power to prohibit communications with
                11 putative class members absent a “showing of direct, immediate and irreparable harm.”
                12 Id. at 300 (“Broad-based assertions that a proposed informational notice is ‘unfair,’
                13 contains some inaccurate statements, or is presented in a misleading form are simply
                14 insufficient bases for imposition of judicial limitations on protected speech in the form
                15 of a prior restraint.”).
                16                  A defendant’s right to communicate with putative class members extends to
                17 solicitation of releases from putative class members in a wage and hour class action.
                18 See Chindarah, 171 Cal. App. 4th 796. In Pick-Up Stix, the defendant employer
                19 attempted to settle directly with putative class members of a pending wage and hour
                20 class action. Id. at 798. Ultimately, more than 200 former and current employees
                21 accepted the individual settlement offer and signed a settlement agreement, which
                22 included a general release. Id. As part of the settlement agreement, the putative class
                23 members agreed not to participate in any class action that included the released
                24 claims. Id. Eight of the putative class members who had signed the settlement
                25 agreement joined the class action as named plaintiffs and sought to invalidate the
                26 individual settlement agreements. Id. The employer moved for summary judgment
                27 arguing that the settlement agreements barred recovery. Id. The trial court agreed
                28 with the employer and granted its motion for summary judgment, which was affirmed
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                      1 by the appellate court. Id. at 799, 804.
                      2             Here, contrary to Plaintiff’s assertion, Safelite has not engaged in any improper
                      3 conduct when communicating and soliciting individual settlement agreements with
                      4 putative class members. Plaintiff’s unsupported contention that Safelite “has waited
                      5 too long to commence the Chindarah campaign” is unavailing and, in fact, has been
                      6 squarely rejected by the Central District. Until a class has been certified, Safelite has
                      7 a right to communicate with putative class members. See, e.g., Park v. Eastwood Ins.
                      8 Servs., Inc., 235 F. Supp. 2d 1082, 1084 (C.D. Cal. 2002) (citations and quotations
                      9 omitted) (stating “Defendants ordinarily are not precluded from communications with
                10 individual class members before certification”); see also, Stafford v. Brink’s, Inc., No.
                11 CV-14-01352-MWF (PLAx), 2016 U.S. Dist. LEXIS 184784, at *5 (C.D. Cal. March
                12 8, 2016) (stating that “[b]ecause Defendant’s settlement offers were sent before class
                13 certification only, the Court is not persuaded that an employee’s acceptance of the
                14 offer, even after class certification, would constitute improper ex parte
                15 communication . . .” and rejecting plaintiff’s argument that settlement agreements,
                16 even if accepted after class certification, are invalid).
                17                  In Stafford, plaintiff filed suit on January 3, 2014. Over a year-and-half later,
                18 on July 28, 2015 and just months before the class was certified on December 1,
                19 defendant sent settlement offers to putative class members. In a motion for review of
                20 the class notice, plaintiff contended, and the court rejected, “that a settlement
                21 agreement is legally invalid if executed independently by a class member after
                22 certification” Id. In fact, the court “deni[ed] Plaintiff’s request that Class Notice be
                23 sent to individuals who signed the settlement offer on or after” the date the class was
                24 certified. In doing so, the court upheld the validity of the settlement agreements which
                25 were based on settlement offers made just prior to class certification. Id.
                26                  Similar to the situation in Stafford, here Safelite has not engaged in any
                27 improper conduct by soliciting settlement offers from putative class members prior to
                28 a class being certified.              Moreover, under Stafford, even settlement agreements
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                      1 accepted after class certification are valid if the settlement offer was made prior to the
                      2 class being certified. Plaintiff’s conclusory contention that Safelite “waited too long
                      3 to commence the Chindarah campaign” has no legal basis.
                      4 V.          SAFELITE’S SETTLEMENT COMMUNICATIONS, INCLUDING
                      5             THE INDIVIDUAL SETTLEMENT AGREEMENTS, HAVE ALL THE
                      6             NECESSARY ELEMENTS FOR A VALID AND ENFORCEABLE
                      7             PICK-UP STIX AGREEMENT.
                      8             A.           Safelite Provided Its Current And Former Employees A Detailed
                      9                          Memorandum And Fact Sheet That Explained The Lawsuits And
                10                               Settlement Offer.
                11                  Safelite provided its current and former Technicians and Repair Specialists
                12 employed in California with settlement communication documents. The Memo, Fact
                13 Sheet, and ISA (collectively, “Settlement Communication”), each play an integral
                14 role in providing the putative class members with the requisite information necessary
                15 for them to decide whether to accept Safelite’s settlement offer.
                16                  B.           The Settlement Communication Does Not Include False Or
                17                               Misleading Statements, Nor Is It Coercive.
                18                  Plaintiff asserts a myriad of arguments as to why the Settlement
                19 Communication is allegedly misleading and coercive. Each of Plaintiff’s contentions
                20 are unwarranted and not convincing.
                21                  Moreover, the fact that putative class members contacted Plaintiff’s counsel on
                22 August 21, 2017, i.e., the same day Safelite provided the Settlement Communication
                23 to its employees, is a testament to the non-coercive nature of the documents and
                24 underscores that the documents evenhandedly informed the employees that they could
                25 contact Plaintiff’s counsel—whose contact information was provided—if they
                26 wanted to obtain a copy of the complaints, or if they had any additional questions.
                27 Additionally, when Plaintiff’s counsel contacted Safelite about the Settlement
                28 Communication, Safelite promptly provided exemplars of the Settlement
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                      1 Communication to Plaintiff’s counsel—which Plaintiff admits. (See Plaintiff’s Ex
                      2 Parte Application at p. 2, lines 20-22 and p. 3, lines1-5, Dkt No. 79.)
                      3             First, the Settlement Communication provides the employees with substantial
                      4 information regarding the litigation and settlement offer. When read together, the
                      5 Memo, Fact Sheet, and ISA provide ample information to Safelite’s Technicians and
                      6 Repair Specialists to decide whether to accept the settlement offer. For example, in
                      7 the Memo, Safelite informs its employees that “A current and a former employee of
                      8 Safelite AutoGlass® (‘Plaintiffs’) have each filed a lawsuit against Safelite on behalf
                      9 of themselves and all other Technicians and Repair Specialists employed by Safelite
                10 in California” and that “You are receiving this notice because you are among the
                11 group of employees Plaintiffs seek to represent in the Lawsuits.” (Stearns Decl., ¶ 2,
                12 Ex. 1.) The Memo further states “Plaintiffs allege that Safelite failed to do all of the
                13 following with respect to its Technicians and Repair Specialists: pay overtime and
                14 minimum wages; comply with California law prohibiting deductions from earned
                15 wages; provide compliant meal periods and rest breaks; provide accurate itemized
                16 wage statements; and timely pay all wages due.” (Id.) Further, the Memo informs
                17 employees that “Safelite is offering a settlement payment to resolve the claims at issue
                18 in the Lawsuits.” (Id.)
                19                  In the Fact Sheet, Safelite further explains: (1) what the lawsuit is about (e.g.,
                20 the alleged claims at issue in the Lawsuits); (2) why Safelite is offering to resolve the
                21 claims (e.g.. that Safelite disputes the claims, but realizes litigation is uncertain); (3)
                22 what the settlement amount is and how it was calculated; (4) what happens if the
                23 current or former employee accepts the settlement offer; (5) what are the employee’s
                24 options; (6) who to talk to if the employee has additional questions (including
                25 Plaintiff’s attorney or any other attorney or advisor); and (7) the deadline by which to
                26 respond to the settlement offer. (Stearns Decl., ¶ 2, Ex. 2.)
                27                  In sum, the Settlement Communication provides the current and former
                28 employees with the requisite information necessary for them to decide whether to
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                      1 accept the settlement offer. See, e.g., Eshelman v. OrthoClear Holdings, Inc., No. C
                      2 07-01429 JSW, 2007 U.S. Dist. LEXIS 67857 (N.D. Cal. Sept. 4, 2007) (upholding
                      3 settlement agreements stating “[a]t this stage, the potential class members have a
                      4 written settlement offer, have been advised that this litigation is pending and that it
                      5 may affect that it may affect their rights, and have the contact information for
                      6 Plaintiffs’ counsel”).
                      7             Second, Plaintiff’s unsupported contention that Safelite’s Settlement
                      8 Communication had to mention the Court’s February 7, 2017 Order re Defendant’s
                      9 Motion for Summary Judgment and Plaintiff’s Motion for Partial Summary Judgment
                10 (“MSJ Order”) is misguided. (See Dkt. No. 65.) There is no strict requirement of
                11 what a settlement communication must include, rather it must provide the putative
                12 class necessary information to choose whether to accept the settlement offer. See,
                13 e.g., Gulf Oil, 452 U.S. at 100.
                14                  Plaintiff’s reliance on County of Santa Clara, is misplaced. Id. The County of
                15 Santa Clara is a consumer case in which defendant conceded it overcharged for drugs
                16 and plaintiff’s legal theory of liability had been appealed and affirmed by the 9th
                17 Circuit. Unlike Safelite’s Settlement Communication, the settlement offer in County
                18 of Santa Clara letter omitted a description of the complaint and the claims at issue,
                19 omitted plaintiffs’ counsel’s contact information, failed to inform putative class
                20 members that the Ninth Circuit Court of Appeals “had already vetted and approved
                21 the theory of the case, an important factor in examining the strength of a claim,” and
                22 that acceptance of the proffered refund constituted a release of future claims. Id. at
                23 *6, 16.
                24                  Unlike County of Santa Clara, Plaintiff’s legal theory of liability has not been
                25 confirmed on appeal and remains a majorly contested legal issue. Also, unlike County
                26 of Santa Clara, Safelite does not concede liability and its Settlement Communication
                27 provides a description of the lawsuit, the alleged claims, and Plaintiff’s counsel’s
                28 contact information, and the release is narrowly limited to claims related to the
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                      1 lawsuit. These meaningful distinctions between the case posture and disclosure
                      2 render County of Santa Clara inapplicable to this case.
                      3             Third, Plaintiff misleads the Court by stating that Safelite’s Fact Sheet
                      4 informed employees that “whether you will ultimately receive a payment from the
                      5 Lawsuits is uncertain – you could receive less than the settlement amount . . . or
                      6 nothing.” (See Plaintiff’s Ex Parte Application at p. 4, lines 10-13, Dkt. No. 79
                      7 (emphasis added).) When read in full and without the ellipses, one sees that Safelite
                      8 also informed putative class members that if they rejected the Settlement Payment,
                      9 they could also possibly receive more than was being offered by Safelite: “you could
                10 receive less than the Settlement Payment, more than the Settlement Payment, or
                11 nothing.” (Stearns Decl. ¶ 2, Ex. 2 at p. 2, ¶ 5 (emphasis added).)
                12                  Fourth, Safelite was not required to physically attach copies of the complaints
                13 to the Settlement Communication. See, e.g., Gulf Oil, 452 U.S. at 100. Rather,
                14 Safelite identified the lawsuits (i.e., “(1) Ontiveros v. Safelite Fulfillment, Inc., et al.,
                15 filed in the United States District Court, Central District of California and assigned
                16 Case No. 2:15-cv-07118 (‘Ontiveros Action’) and (2) Curiel v. Safelite Fulfillment,
                17 Inc., Los Angeles County Superior Court and assigned Case No. BC 652703 (‘Curiel
                18 Action’)” and informed employees that they could access the complaints from: (i)
                19 PACER and the court’s website; (ii) by “contacting the attorneys representing
                20 Plaintiffs: Haines Law Group, APC, 2274 East Maple Ave., El Segundo, California
                21 90245, (424) 292-2350;” or (iii) by contacting Safelite’s People Business Partner,
                22 Denzil Barkley, at (916)767-1802. Even the County of Santa Clara v. Astra USA,
                23 Inc., No. C 05-03740, 2010 U.S. Dist. LEXIS 78312, at *16 (N.D. Cal. July 8, 2010),
                24 which Plaintiff relies on (although its inapplicable for the reasons discussed above),
                25 recognizes that “there is no strict requirement to include a complaint.”
                26                  C.           The Settlement Agreements and Releases Are Valid Because A
                27                               Bona Fide Dispute Exists As To Whether Wages Are Owed.
                28                  Plaintiff’s claim that the settlement agreements are invalid because of (1) the
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                      1 Court’s MSJ Order and (2) Safelite allegedly concedes that class certification is
                      2 proper. Both arguments fail. Section 206.5 states that an:
                      3       employer shall not require the execution of a release of a claim or right
                              on account of wages due, or to become due, or made as an advance on
                      4       wages to be earned, unless payment of those wages has been made. A
                              release required or executed in violation of the provisions of this
                      5       section shall be null and void as between the employer and the
                              employee.
                      6 Cal. Lab. Code § 206.5(a) (emphasis added).
                      7             California courts recognize that “section 206.5 must be read in connection with
                      8 section 206, which requires an employer in a wage dispute to pay, without condition,
                      9 all amounts conceded to be due, but does not require unconditional payment of
                10 disputed amounts.” Aleman v. AirTouch Cellular, 209 Cal. App. 4th 556, 578 (2012).
                11 As a matter of law, “wages are not considered ‘due’ and unreleasable under Labor
                12 Code section 206.5, unless they are required to be paid under Labor Code section 206.
                13 When a bona fide dispute exists, the disputed amounts are not ‘due,’ and the bona fide
                14 dispute can be voluntarily settled with a release and a payment -- even if the payment
                15 is for an amount less than the total wages claimed by the employee.” Watkins v.
                16 Wachovia Corp., 172 Cal. App. 4th 1576, 1587 (2009) (emphasis added). If “there is
                17 a good faith dispute as to whether and when commission wages were owed,” then
                18 “[e]mployees may release claims for disputed wages and may negotiate the
                19 consideration they are willing to accept in exchange.” Nordstrom Comm’n Cases, 186
                20 Cal. App. 4th 576, 590 (2010).
                21                  For example, in Watkins, when plaintiff was terminated, she believed she
                22 possessed a claim for further overtime pay and voluntarily elected to receive enhanced
                23 severance benefits in exchange for releasing her claims against Wachovia. Watkins,
                24 172 Cal. App. 4th at 1587. Under these circumstances, the court found that release
                25 was enforceable. Id.; see also Reynov v. ADP Claims Servs. Group, Inc., No. C 06-
                26 2056 CW, 2007 U.S. Dist. LEXIS 31631, at *9 (N.D. Cal. Apr. 30, 2007) (citations
                27 omitted) (noting “[b]ecause CSG’s defense that Reynov was an exempt employee
                28 under California law would, if successful, preclude any recovery for Reynov, a bona
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                      1 fide dispute exists and the overtime pay cannot be considered ‘concededly due’”).
                      2 The same rationale applies in this case and warrants a finding that the settlement
                      3 agreements current and former employees entered into are enforceable.
                      4             First, the Court’s MSJ Order does not establish liability, rather it held that
                      5 Safelite’s PPP Incentive Plan is a piece-rate compensation system. (See Dkt. No. 65
                      6 at p. 8 stating “The hypothetical demonstrates that the PPP was designed in such a
                      7 way that minimum wage violations could result” and “The parties have not asked the
                      8 Court to decide at this juncture whether violations did in fact occur”.) Importantly,
                      9 the Court has not found that there were violations or liability as to any particular
                10 employee. Even in light of the Court’s ruling, Safelite in no way concedes liability.
                11 In fact, Safelite filed a motion for reconsideration and has asked for leave to appeal
                12 immediately because Safelite intends to appeal the Court’s piece-rate determination.
                13 (See Dkt. No. 68.) Until there is a final judgment, the issue remains disputed.
                14                  Second, Safelite vigorously opposes class certification and Plaintiff’s
                15 application misleads the Court in many respects. (See Safelite’s Opp. to Class Cert.,
                16 Dkt. No. 78.) For example, Safelite’s opposition directly attacks Dr. Dumond’s
                17 methodology of calculating damages. (See id. at pp 7-8.) Regardless, even if a class
                18 is certified, that does not establish liability as to any particular employee. Rather, it
                19 simply means that the action may proceed on a class basis. For example, Safelite
                20 intends, should some subclasses be certified, to move for summary judgment
                21 demonstrating that the class members suffered no actual wage loss and it would seek
                22 this ruling on a class wide basis.
                23                  Third, here, Safelite offered its employees $250 per year of employment since
                24 September 9, 2011 rounded up to the nearest year, despite that fact that Safelite settled
                25 a related class action, Lewis v. Safelite Fulfillment, Inc., 11-cv-5512-CRB (N.D. Cal.
                26 Nov. 14, 2011), which resolved all claims related to overtime, meal period, minimum
                27 wage violations, and derivative claims occurring between November 14, 2007 and
                28 June 3, 2013. (See Dkt No. 50 at p. 5-6, ¶ 9; see also MSJ Order, Dkt No. 65 at p. 16,
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                      1 lines 8-17.) That means, putative class members who worked during that time period
                      2 and who accepted the settlement offer, essentially received an additional $500 for
                      3 claims which have already been released—which amounts to a windfall for the
                      4 employees. If an employee worked 1 year and 1 day, that employee received $500.
                      5 And, if an employee worked 1 week, that employee received $250. Here, all
                      6 employees who accepted the offer received between $250 and $1,500, with the
                      7 average settlement amount being approximately $750—not insignificant amounts in
                      8 any respect under the circumstances. (Stearns Decl. ¶ 3.)
                      9             In sum, Safelite vigorously disputes that any wages are owed and, as such, a
                10 bona fide dispute exists. Furthermore, under the circumstances, the amount offered
                11 by Safelite to its employees is a fair offer “even if the payment is for an amount less
                12 than the total wages claimed by the employee.” Watkins, 172 Cal. App. 4th at 1587.
                13 VI.              SETTLEMENT OFFERS CAN BE ACCEPTED BY ANY METHOD
                14                  PRESCRIBED BY THE OFFER.
                15                  Acceptance of an offer, including a settlement offer, is the expression of assent
                16 to its terms. And, acceptance must generally be made in the manner specified by the
                17 offer. Under California law, cashing a check tendered in settlement of outstanding
                18 claims constitutes a valid acceptance of the settlement offer. See, e.g., Tristan v.
                19 Allstate Ins., No. 95-0621-J (CGA), 1995 U.S. Dist. LEXIS 17554, at *1 (S.D. Cal.
                20 Oct. 16, 1995) (stating “[t]he check was cashed by Farmers, and under California
                21 law, this constitutes a valid acceptance of the settlement offer”); see also Lazarin v.
                22 Pro Unlimited, Inc., No. C11-03609 HRL, 2013 U.S. Dist. LEXIS 97213, at *6 (N.D.
                23 Cal. July 11, 2013) (noting that “Class Members opt in to the FLSA Settlement Class
                24 by cashing a check that will be mailed to them”).
                25                  Here, Safelite’s Settlement Communication repeatedly informs employees that
                26 they can accept “the Settlement Agreement and Settlement Payment by cashing,
                27 depositing, or otherwise tendering the enclosed Settlement Check, which constitutes
                28 your agreement to the terms of the enclosed Settlement Agreement.” (Stearns Decl.
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                      1 ¶ 2, Ex. 3.) Section 2 of the ISA “Method of Acceptance” states:
                      2          In order to accept the terms of this Agreement, Employee must cash,
                                 deposit, or otherwise tender the Settlement Check enclosed with this
                      3          Agreement. This Agreement cannot be accepted by any other method.
                                 BY CASHING, DEPOSITING, OR OTHERWISE TENDERING THE
                      4          SETTLEMENT CHECK, EMPLOYEE IS REPRESENTING THAT
                                 EMPLOYEE HAS READ THIS AGREEMENT IN ITS ENTIRETY
                      5          AND THE ACCOMPANYING FACT SHEET AND THAT
                                 EMPLOYEE ACCEPTS THIS AGREEMENT, KNOWINGLY AND
                      6          VOLUNTARILY, WITH FULL UNDERSTANDING OF ITS
                                 CONSEQUENCES. If Employee does not wish to accept the terms of
                      7          this Agreement, Employee should not cash, deposit, or otherwise tender
                                 the enclosed Settlement Check.
                      8   (Id. ¶ 2, Ex. 3 at ¶ 2.)
                      9             In addition, similar language is repeated above the ISA signature block, in the
                10 signature block, and on the back of the settlement check in the endorsement section.
                11 (Id.). Given the documentation in this case, it cannot be reasonably disputed that
                12 cashing, depositing, or otherwise tendering the settlement check constitutes the
                13 employee’s acceptance to the terms of the ISA. Plaintiff’s contention (and the cases
                14 cited in support) that the ISAs must be “signed” is without legal or factual support.
                15 VII. CONTRARY TO PLAINTIFF’S MISREPRESENTATIONS, THE
                16                  SETTLEMENT AGREEMENTS DO NOT RELEASE CLAIMS
                17                  BEYOND THOSE AT ISSUE IN THIS LITIGATION.
                18                  The ISAs provide for a release of only those claims related to the lawsuits.
                19 Specifically, the ISA states that the employee “releases . . . Company . . . from any
                20 and all claims, causes of action, damages, attorneys’ fees, and costs, whether known
                21 or unknown, that Employee has against any of the Released Parties up until the date
                22 Employee accepts this Agreement related to the claims in the Lawsuits . . . .”
                23 (Stearns Decl. ¶ 2, Ex. 3 at p. 1, ¶ 5 (emphasis added).) Plaintiff misleads the Court
                24 to believe that the ISAs release “unknown” claims beyond those related to the lawsuit;
                25 they do not. Because the release in the ISA is limited to the claims in this lawsuit,
                26 Plaintiff’s reliance on a string of cases invalidating “overbroad” releases is inapposite.
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                      1 VIII. INDIVIDUAL SETTLEMENT AGREEMENTS DO NOT NEED
                      2             COURT APPROVAL.
                      3             Plaintiff’s argument that individual settlement agreements require court
                      4 approval misconstrues Cal. Labor Code section 2699(l)(2) which provides “[t]he
                      5 superior court shall review and approve any settlement of any civil action filed
                      6 pursuant to this part” to suggest that the individual settlement agreements between
                      7 Safelite and its employees must receive court approval. That is inaccurate. The ISAs
                      8 entered into by Safelite are not a “settlement of any civil action filed pursuant to this
                      9 part.” Rather, they are individual agreements settling a dispute between Safelite and
                10 its current and former employees—not a “settlement of any civil action” which would
                11 require court approval. To the extent Safelite were to settle this action with Plaintiff,
                12 then section 2699(l)(2) would be triggered, but that is not the case here. If Plaintiff
                13 was correct on this point, then every single individual settlement agreement between
                14 an employer and its employee involving a wage and hour dispute would require court
                15 approval. That is not the law.
                16                  Plaintiff’s reliance on Slavkov v. Fast Water Heater I, LP, No. 14-cv-04324-
                17 JST, 2015 U.S. Dist. LEXIS 149013 (N.D. Cal. Nov. 2, 2015) is misplaced because
                18 Slavkov involved a release of a FLSA claim, among other things. The Slavkov Court
                19 concluded that the settlement communications were misleading in two ways: (1) by
                20 confusingly suggesting putative members could not contact plaintiffs’ counsel and (2)
                21 by omitting to mention that FLSA claims would require judicial approval to be
                22 released. Id. at *19-20.
                23                  Here, unlike the situation in Slavkov, (1) the parties stipulated to dismissal of
                24 the FLSA claim and the Court dismissed it and (2) Safelite’s Settlement
                25 Communication provides Plaintiff’s counsel contact information and repeatedly
                26 informs the employees that they could contact Plaintiff’s counsel, or any other
                27 attorney or advisor. Thus, Slavkov is inapplicable to this case and of no value. (See
                28 Dkt. No. 44; see also Stearns Decl. ¶ 2, Ex. 2.)
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                      1 IX.         PLAINTIFFS DO NOT HAVE STANDING TO CHALLENGE THE
                      2             INDIVIDUAL SETTLEMENT AGREEMENTS.
                      3             It is evident from the relief Plaintiff seeks that he is ultimately seeking to
                      4 invalidate the ISAs entered into between Safelite and its current and former
                      5 employees. Plaintiff lacks standing to challenge the settlement agreements between
                      6 Safelite and putative class members because: (1) Plaintiff does not represent a class
                      7 and (2) Plaintiff did not sign an agreement. See, e.g., Koo v. Rubio’s Restaurants Inc.,
                      8 109 Cal. App. 4th 719, 736 (2003) (stating putative class members are not deemed
                      9 parties represented by class counsel before class certification); Madrigal v. Tommy
                10 Bahama Group, Inc., 2010 U.S. Dist. LEXIS 121573 (C.D. Cal. 2010) (named
                11 plaintiffs cannot challenge releases that they did not sign); Nordstrom Com. Cases,
                12 186 Cal. App. 4th 576, 590 (2010) (citing Chindarah decision) (stating that
                13 “[e]mployees may release claims for disputed wages and may negotiate the
                14 consideration they are willing to accept in exchange”); Watkins v. Wachovia Corp.,
                15 172 Cal. App. 4th 1576 (2009) (holding that employer and employee may resolve an
                16 existing wage-and-hour dispute through a settlement and release).
                17                  In Madrigal, the named plaintiffs attempted to invalidate wage settlements,
                18 claiming the agreements violated Labor Code Sections 206 and 206.5. The named
                19 plaintiffs did not sign any wage settlements; instead, they alleged that some of the
                20 putative class had received “purported settlement checks.” The court rejected the
                21 named plaintiffs’ attempt to assert the claim, reasoning that plaintiff “generally must
                22 assert his own legal rights and interests, and cannot rest his claim to relief on the legal
                23 rights or interests of third parties.” Id. at *12.
                24                  Here, by attempting to challenge the individual settlement agreements, Plaintiff
                25 and his counsel have potentially put themselves in a non-waivable conflict with the
                26 putative class members whose agreements they seek to challenge. These putative
                27 class members may not want their agreements invalidated. And, in fact, they have
                28 expressly stated that they do not want to participate in the lawsuit. (Stearns Decl.,
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                      1 ¶ 2, Ex. 3 at ¶ 9.) Thus, Plaintiffs do not have standing to seek to challenge the
                      2 agreements which they did not sign.
                      3 X.          CONCLUSION.
                      4             For the foregoing reasons, Safelite respectfully requests that the Court deny
                      5 Plaintiff’s ex parte application in its entirety.
                      6 Dated: August 24, 2017                        VORYS, SATER, SEYMOUR AND
                                                                      PEASE, LLP
                      7
                      8                                               By:        /s/ Robert A. Harris
                                                                            Robert A. Harris
                      9                                                     Attorneys for Defendant
                                                                            SAFELITE FULFILLMENT, INC.
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